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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

 v.
                                                              Case No. 22-mj-76
 ARIAN TAHERZADEH &
 HAIDER ALI,

              Defendants.


                                              ORDER

       Late this afternoon, the government lodged with Chambers a motion that seeks to substitute

the affidavit it submitted in support of the original complaint in this matter with an amended affi-

davit. According to the government’s motion, the amended affidavit seeks to correct a mistake in

the original affidavit and to set forth additional facts it believes supports probable cause to believe

that Defendants falsely impersonated federal officers in violation of 18 U.S.C. 912. The govern-

ment asks the Court to swear the affiant to the amended affidavit, and to enter an order (i) con-

firming that there remains probable cause for the charge in the original complaint and (ii) substi-

tuting the amended affidavit for the original affidavit. The government “does not request that the

original Affidavit be removed from the public docket,” but “simply requests that the amended

affidavit serve as the operative Affidavit in support of probable cause for the charge” in the original

complaint. The government’s position is that the Court should consider the amended affidavit and

the government’s other requests ex parte.

       While Rule 3 of the Federal Rules of Criminal Procedure permits a magistrate judge’s ex

parte consideration of a criminal complaint and affidavit, neither that rule, nor any other, addresses

how errors in complaint affidavits that may be material to probable cause are to be corrected, or

whether such an amended affidavit offering additional facts in support of probable cause may
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properly be substituted by a magistrate judge as the basis for the charge in the original complaint,

especially following an arrest of the defendant on the original complaint. Given that Defendants

here have been arrested, been appointed counsel, and had an initial appearance on the original

complaint and affidavit, the Court believes it is prudent to seek a response from Defendants as to

whether they have any legal objection to the procedure the government proposes. The Court needs

no assistance with issues regarding the existence of probable cause.

       The government has indicated that it does not believe its motion is urgent and has not

requested that the Court adjudicate it on an exigent basis this evening. Accordingly, it is hereby

       ORDERED that Defendants shall provide, by 5:00 p.m. on April 18, 2022, any objection

to what the government has proposed, and the legal basis therefore.

       Assuming Defendants lodge such an objection, the government is hereby

       ORDERED to provide its response by 5:00 p.m. on April 19, 2022.



       SO ORDERED.                                                    Digitally signed by G.
                                                                      Michael Harvey
                                                                      Date: 2022.04.15
Date: April 15, 2022                                                  21:41:08 -04'00'
                                                     _______________________________
                                                     G. Michael Harvey
                                                     United States Magistrate Judge
